FAX 703.273.8897

11325 Random Hills Road, Suitr: 200, Fairfax, Virginia 22030
TEL 703.273.8898

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

Intersections lnc. and Net Enforcers, Inc.,
Plaintiffs,

v. Civil Action No. l:OQCV597.(LMB/TCB)

Joseph C§ Loomis and Jenni l\/I. Loomis,

Defendants.

 

 

DEFENDANT’S SUPPLEMENTAL BRIEF IN SUPPORT OF
OBJECTIONS TO THE ORDER STRIKING EMIL W. HERICH
AS COUNSEL FOR DEFENDANT JOSEPH C. LO()MIS
AND RESPONDING TO THE COURT’S REQUEST FOR MORE INF()RMATION
Comes now Joseph C. Loomis, by counsel, and submits this Supplemental Memorandum

In Support Of His Objections To The Order Striking Emil W. Herich As Counsel For Mr.
Loomis And Responding To The Court’s Request For l\/lore lnformation, stating as follows:
I. INTRODUCTION

This supplemental brief addresses the issues pertaining to the order entered on September
3, 2010 by Judge Buchanan disqualifying Attorney Emil W. Herich from appearing on behalf of
Defendant Joseph C. Looinis in this matter, as Well as additional allegations of Wrongdoing on
the part of Mr. H.erich recently heaped on him by Plaintiffs.

As an initial matter, the undersigned has concerns that this Court heard allegations in
open court from Plaintiffs’ counsel that contained none of the critical background that is
necessary to appreciate the questions presented; and Which caused this Honorable Court to
request supplemental briefing in the first place. Accordingly, this paper Will attempt to

summarize several points at the outset to provide necessary context

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Fz`rsz‘, while unrelated to the question of Mr. Herich’s disqualification, the Court -
expressed the view in open court that perhaps the FBI should be contacted if, in fact, the money
Mr. Loomis had received from Plaintiffs has disappeared The undersigned trusts that the Court
has not formed a pre-conceived view of this case, and the reality is that Mr. Loomis is
` represented in Arizona by Mr. Herich and Gerald K. Smith of hewis & Roca, LLP, an extremely
reputable attorney that Mr. Kevin Kobbe, Ms. Dickinson’s partner, has calleda “dean of the
bankruptcy bar.” The Court surely understands that none of the attorneys in this case - Mr.
Herich, Mr. Smith or the undersigned - would remain involved in a matter if they believed that
they were aiding and abetting illegal conduct. In that regard, all of the money involved has been
accounted for; Mr. Loomis has been deposed twice concerning it, and appropriate forms and
schedules have been filed in the bankruptcy court. As far as the undersigned is-aware, the money
exists in known locations; it is just outside the bankruptcy estate (for example, as investments in
closely-held entities).

Second, the initial disqualification order was improperly entered for reasons previously
stated in the appeal of that order to this Honorable Court. Moreover, the undersigned (through
bankruptcy counsel Mr. Smith) engaged Professor Geoffrey Hazard to review the briefs and
submissions related to this issue. Professor Hazard has opined that the disqualification order was
improvidently entered Additionally, the federal bankruptcy court in Phoenix, Arizona similarly
rejected Plaintiffs’ claims that Mr. Herich should be disqualified from representing Mr. Loomis
in what are essentially mirror image claims in that forum.

Thz`rd, Mr. Herich’S activities have been in furtherance of his approved work as counsel
for Mr. Loomis in what amounts to a mirror image case in the bankruptcy court. Plaintiffs
attempted to disqualify him in Arizona and failed. Thus, the Court cannot rule in this matter

without knowing more about Mr. Herich and his role in the two connected cases.

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Mr. Herich is admitted to practice law in all of the United States District Courts in
California and before the Ninth Circuit Court of Appeal. Exh. A, Declaration of Emil W.
Herich, ill (“Herich Dec.”). With the exception of the proceedings before this Court, he has
never been accused, much less been found to have committed, any ethical violation in his 27

n years of practicing law. Herich Dec., j[l.

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Mr. Herich became involved in l\/lr. Loomis’ bankruptcy case on or about August 3,
2010, when he filed an ex parte application for employment in the matter entitled In re Joseph C.
Loomis, Debtor, Case No. 2:lO-bk-Ol855 (D. Ariz. Bankr.). The ex parte application sought his

employment with respect to the following'matters:

(a) A lawsuit filed by lntersections, lnc. and Net Enforcers, lnc. (“the Virginia
action”); '

(b) a potential arbitration proceeding against Debtor’s former counsel in this case,
Hunter, Humphrey & Yavitz, PLC [“HH&Y”], for legal malpractice;

(c) potential avoidance/preference litigation against Debtor’s former counsel in
this case, Dunlap, Grubb & Weaver, PLLC; and

(d) litigation to determine the enforceability/dischargeability of certain

contractual noncompetition provisions and covenants not to compete

contained in the contracts that form the basis for this case. [Herich Dec., 112 &
Exh. A]

The first matter listed above is literally this case (collectively, all of these matters shall be
referred to as the-“Bankruptcy Cases”). This is because it was unknown whether, as of August 3,
2010, this case would be deemed settled, litigated to judgment in Virginia or litigated to
judgment in Arizona. The other matters all involved this case as well and in particular the matter
against HH&Y. A leading feature to the claim against HH&Y is the conduct and advice given to
Mr. Loomis in connection with the threat by HH&Y to have counsel arrested if they did not

return Mr. Loomis’ computer, a matter that continues to plague Mr. Loomis’ credibility with

Judge Buchanan and the Court. Herich Dec., 13.

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ln short, all of the assignments for which Mr. Herich’s employment was approved
substantially overlap with matters related to this action or, _in fact, are this mattel/l On or about
August l(), 2010, Mr. Herich’s ex parte application to be employed was approved by the
bankruptcy court. Herich Dec., 114 & Exh. B. On or about August 6, ZOlO, Mr. Herich submitted
` an Application in this Court to Qualify As A Foreign Attorney>Under,Local Civil Rule 83. l(D)
and Local Criminal Rule 57.4. Mr. Herich submitted this application because it was related to
his employment for Mr. Loomis in the bankruptcy court. See Herich Dec., 1l5 & Exh. C.
Specifically, Plaintiffs had previously obtained relief from the stay of bankruptcy to attempt to
enforce a settlement of the Virginia action, and the motion to enforce the settlement clearly had
implications with respect to the bankruptcy action in which he was and is currently employed as
counsel for Mr. Loomis, including the fact that Plaintiffs had filed a proof of claim based on the
settlement in the bankruptcy case. Herich Dec., 15. Other issues flow from this situation, such
as a duty in the malpractice case against HH&Y to mitigate any damages that may be awarded in
this matter should the Court find against Mr. Loomis.
On or about August 20, 2010, Plaintiffs made a motion to disqualify Mr. Herich as
counsel for Mr. Loomis in this action. Specifically, the notice of motion sought entry of an order
“disqualifying Emil W. Herich and Keats McFarland & Wilson, LLP (“KMW”) from appearing
as counsel on behalf of Defendant Joseph C. Loomis.” Herich Dec., 116 & Exh. E. The ground
for the motion was that the firm that Mr. Herich is “of counsel” to had allegedly previously
represented Plaintiff Net Enforcers, lnc. (“NEI”) in a matter “substantially similar” to the matter
before this Court. No contention was ever made that Mr. Herich had ever personally represented
Plaintiff NEI and, in fact, he has never represented that entity. Herich Dec., 116.
Mr. Loomis submitted an opposition to the motion to disqualify complete with

declarations attesting to the fact that neither KMW nor Mr. Herich had ever represented Plaintiff

 

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TEL 703.273.8898

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NEI on any matter in any way related to the action before this Court, Nevertheless, Judge
Buchanan heard the motion and on September 3, 2010, issued an order stating:
For reasons stated from the bench, it is hereby ORDERED that
plaintiffs Motion to Disqualify Emil W. Herich and Keats
McFarland & Wilson, LLP from Appearing as Counsel on behalf
of defendant Joseph C. Loomis is GRANTED. '

The Clerk shall strike Mr. Herich and Keats McFarland & Wilson
as counsel of record.l [Herich Dec., 117, Exh. F]

Mr. Herich’s understanding of the disqualification order at the time it Was issued was,
and still is, that he was barred “from appearing as Counsel on behalf of Joseph C. Loomis” in
this 'Court to the same extent as he would have been barred had he never submitted a pro hac
vice application Herich Dec., 118. -Mr. Herich did not understand then, nor does he understand
now, that the order prevented him from providing any legal services to Mr. Loomis relevant to
the issues in the bankruptcy court, particularly insofar as those issues overlap with those present
in this case. The disqualification order also did not purport to bar him from appearing in the
bankruptcy court, or from providing legal services to Mr. Loomis to the extent those services
were related to his employment in the bankruptcy case. Herich Dec., ‘HS. lt is also obvious that
the disqualification order did not prevent Mr. Herich from defending himself against allegations
that he was in violation of that order.

Mr. Herich’s views were also influenced by proceedings in the bankruptcy court itself.
On or about August l'l, 2010, Plaintiffs herein moved the bankruptcy court to reconsider its
order authorizing his employment on the same grounds urged before this Court when they sought
Mr. Herich’s disqualification Mr. Herich filed an opposition on the same grounds as those
Which were filed on his behalf in this Court. On September 3, ZOlO, Plaintiffs filed supplemental

papers advising the bankruptcy court of the disqualification order issued by this Couit. Herich

 

l Altliough the order purports to strike KMW’s appearance, KMW had never been counsel of record for
Defendant Joseph C. Loomis in this case. Herich Dec., 117 n.l. '

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11325 Raridoni Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.2.73.8898

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Dec., 1[9. On September 16, 2010, after a full-blown evidentiary hearing, the bankruptcy court
denied Plaintiffs’ motion to reconsider the August 10, 2010 order authorizing Mr.v Herich’s
employment as counsel for Mr. Loomis in the aforesaid matters. See Herich Dec., 119 & Exh. G.
On or about September 21, 2010, Joseph C. Loomis filed his Defendant’s Objections to
' Magistrate Judge’s Decision on Nondispositive Matter and Request for Reconsideration By
District Court of Magistrate Judge’s Ruling [FRCP 72a] with this Court. See Docket No. 195.
On or about October 1, 2010, Mr.¢Loomis caused a motion for reconsideration of Judge
Buchanan’s disqualification order to be filed with this Court, which was also referred to this
Court. See Docket No. 201. On or about October 29, 2010, the Objections to Judge Buchanan’s
disqualification order came before this Court. After denying Plaintiffs’ motion to enforce the
purported settlement, the Court determined that the other two pending proceedings, including the
objections to the disqualification order, were “moot” because the stay of bankruptcy still applied
to the case. Herich Dec., 1110 & Exh. H (November 3, 2010 Order).

At that point, there were two rulings related to Mr. Herich’s work for Mr. Loomis. In
Virginia, Judge Buchanan had ordered that he could not “appear” in this action, and this Court
found that this ruling was “moot” for as long as the stay was in place. ln Arizona, meanwhile,
the bankruptcy court refused to rescind Mr. Herich’s employment even though it knew about his
disqualification in this Court and even_though the subject matter of the cases was substantially
similar. The bankruptcy court took a different view of the issues related to imputed conflicts
Herich Dec., 1111.

Mr. Herich felt that he was entirely within his rights, and within the spirit of the two
disparate rulings, to Work for Mr. Loomis on matters related to the subject matter of the
bankruptcy cases (and potential cases) for which his employment had been approved, challenged

and reapproved. Herich Dec., 1112 As noted, this understanding, and therefore the good faith

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11325 Randoni Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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basis for it, has been confirmed by one of the leading legal ethics experts in America, Geoffrey
Hazard. See Exh. B, letter opinions and CV of Geoffrey Hazard.

On or about November 8, 2010, Plaintiffs filed an amended proof of claim for
$14,000,000 in the Arizona bankruptcy case based on the exact same allegations made in this
case. Herich Dec., 1112 & Exh. l. Mr. Herich caused an adversary proceeding to be commenced
in the bankruptcy action seeking to disallow Plaintiffs’ claim against M'r. Loomis, and he also
filed a counterclaim seeking to have their claim against Mr. Loomis equitably subordinated to
those of other creditors on account of their bad faith tactics in this action including those related
to the- declaration they obtained from l\/lr. Leberer. Both Ms. Snyder and Mr. Leberer have direct
personal knowledge of these matters.` Mr. Herich also prepared a motion for summary judgment
that will be heard on l\/larch 22, 201'0, on the ground that the Amended Proof of Claim was not
timely filed. Herich Dec., 1112. As noted, l\/lr. Loomis has also contemplated, and intends to
commence, an action in the bankruptcy court against his former counsel, HH&Y, for legal
malpractice Herich Dec., 112

Mr. Herich also caused a separate adversary proceeding to be commenced against
Plaintiffs in the bankruptcy court that sought a declaratory judgment that Mr. Loomis was not
bound by certain covenants not to compete contained in the agreements that form the basis for

the action in this Court (the “Restrictive Covenant Case”). Herich Dec., 1113 A motion for

_ summary judgment in the Restrictive Covenant Case was heard by the bankruptcy court and

granted on January 18, 2011, over Plaintiffs’ objections that Mr. Herich had been disqualified in
the Virginia action. Herich Dec., 1113 & Exhs. J-K.

As part of l\/[r. Herich’s work on the above-referenced matters, he has felt duty-bound to
investigate the potential claims of l\/lr. Loomis prior to filing them in the bankruptcy court and to

assist Mr. Loomis to mitigate any damages that he can reasonably avoid. Herich Dec., 1114. At

 

FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virgiri_ia 22030
TEL 703.273.8898

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the time of the conduct complained of herein, there was substantial reason to believe that'this
litigation would remain in Arizona and be litigated there, including but not limited to the matters
related to a motion for sanctions on the grounds of alleged spoliation. Herich Dec., 114. 1n this
regard, Plaintiffs herein had filed a motion for relief from stay; Mr. Loomis had opposed the
' motion; and the matter had not been ruled upon by the bankruptcy court at the time of the
allegations now leveled against Mr. Herich (with the exception of the phone ca11 set forth in
footnote 2). Accordingly, Mr. Herich felt that it was necessary and appropriate for him to
interview and communicate with certain witnesses in this case, such as 1\/1s. Snyder and l\/lr.
Leberer, and he has always done so in what he believes is an appropriate, professional and
nonthreatening manner. Herich Dec., 114. Even now, moreover, Mr. Herich’s approved work
necessarily requires him to in touch with many of the witnesses listed for the parties in this 'case.
Fourth, there is another practical reality to this situation The present circumstances
present unique and novel facts. While the undersigned disagrees with the disqualification order,
the undersigned insisted that the work on the “Virginia case” and the work product submitted to
this Court would have to, at all times, reflect his independent judgment and independent efforts
The undersigned made it clear that he would not participate in the case if there were any effort
undertaken that could result in him fairly being seen as a conduit for work performed by Mr.
Herich. Mr. Herich agreed to these terms, and the undersigned and his staff can attest to long

and sometimes grueling hours spent working on this matter.2

 

2 Plaintiffs’ attempts to castigate Mr. Herich, and now apparently the undersigned, appear to have no
regulator. They have filed a “Second Suppleinental` Response to Joseph Loomis’ Objections to
Disqiialificatioii of Einil Herich and KWl\/I” in which a witness (Mr. Leberer) indicates that Mr. Herich
called him on February 25, 2011, and left a voiceinail asking for a declaration from Sheilah Snyder that
was needed for “Tim.” The background of this episode is that the undersigned was putting together the
Opposition to a Motion for Sanctions due the same day. He and his staff had spent considerable time
talking with Sheilah Snyder and Mr. Herich about their respective declarations that needed to be filed
with the Opposition. Ms. Snyder was not answering her phone, it was getting late, and during the course
of talking to Mr. Herich about his declaration the undersigned mentioned that he had not received Ms.

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11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
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The undersigned has substantial reason to believe that this course of action was more
conservative than it needed to be. However, as this Court observed at the last hearing of this
matter, the Court has never known the undersigned to “even come close to crossing the line” in
some 20 years of practice. lndeed, and as an indirect measure of the way the undersigned’s

l mode of operation is perceived by the legal community at large, the undersigned has previously
been selected to represent the Arlington County Bar Association and was recently selected by the
Board of Directors of the Fairfax County Bar Association to represent it in a hotly contested

case. There is no doubt in the undersigned’s mind that he has comported himself appropriately

II. THE DISQUALIFICATION ORDER WAS IMPROPER AND DEFENDANT’S
OBJECTIONS THERETO SHOULI) BE SUSTAINED.

As to the disqualification order, Defendant’s objections should be sustained Mr. Herich
never previously represented PlaintiffNet Enforcers, lnc. (“NEI”) and even Plaintiffs do not
contend otherwise Mr. Herich is “of counsel” to the firm Keats, McFarland & Wilson, LLP
(“Kl\/IW”), which Plaintiffs have contended did previously represent NEI.' However, KMW’s
named partner, Larry McFarland, a lawyer with 24 years of experience and an unblemished
record of professional discipline, has previously provided a sworn declaration stating that Kl\/IW
never represented NEI in connection with the stock sale transaction or any other matter at issue
in this case. See Exh. C., Declaration of Larry McFarland, 115 (“McFarland Dec.”). Plaintiffs
have not provided one single declaration; they have not provided one single legal bill; and they
have not provided one single iota of work product substantiating their allegation that KMW

previously represented NEI on a matter substantially similar to the issues in dispute here.

 

Snyder’ s declaiation. ln an effort to aid his client Mr Loomis Mr Herich tried to call her to let hei

know that the undersigned needed her to get back to the undersigned oi his staff, but he mistakenly dialed
the iiuinbei for Mr. Leberei This is not misconduct

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Moreover, at the time of the underlying events related to the disqualification order, Mr.
Loomis was the President, Chief Executive Officer and sole shareholder of NEI. Mr. Loomis has
previously cited the Court to circuit court authority holding that, where the “new” client is a
member of the management team of the “prior” client, disqualification is improper. Christicmsert
v_. United States District Court for Central Dist. OfCalifornia, 844 F.2d 694, 698 (9th Cir. 1988).
Plaintiffs have cited no published countervailing authority. Moreover, to the undersigned’s
knowledge,- no controlling Virginia legal authority exists.

No lesser an authority than l’rofessor Hazard, the leading scholar and author of numerous
publications on legal ethics, has opined that there was no conflict of interest that warranted
disqualification3 Specifically, Professor Hazard has opined:

1 have examined the relationship between the Keats firm and NEI.
ln essence, NEl conducts ongoing reviews to ascertain whether
relevant intellectual propeity rights of third parties are being
infringed When NEl ascertains that such is the case, it advises the
Keats firm and the firm sends out a communication to the
suspected infringer on behalf of the third party, not on behalf of
NEI. This arrangement does not result in NEl becoming a client of
the Keats firm, but rather from time to time such a third party may
become a client of the firm. The relationship between the Keats
firm and NEl is that of two service-providers working together for
the benefit of a third party, similar to that where a law firm and an
accounting firm work together for a third party client.

[See Exh. B, opinion letters of Professor Geoffrey C. Hazard, Jr.
(and curriculum vitae attached thereto)].

' The objections to the disqualification order should therefore be sustained

 

3 Professor Hazard was cited by Plaintiffs in their motion to disqualify Mr. Herich.

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III. THE RECENT ALLEGATIONS OF WRONGDOING ON THE PART
OF DEFENDANT AND HIS ATTORNEY ARE CONTRIVED AND DO NOT

FORM A BASIS FOR DISQUALIFICATION OF C()UNSEL OR ADVERSE
ACTION.

A. Mr. Loomis’ Purported Witness Tampering And Alleged Violation of The

Protective Order Is A Red Herring Designed To Add Appeal T0 Meritless
Arguments. k

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Although not in any way relevant to the issue of whether the objections to the
disqualification of Mr. Herich should be sustained, Plaintiffs have used their Supplemental
Response as an opportunity to further disparage Defendant Loomis. This unfair attempt to
malign him and Mr. Herich is unfortunate and improper.

On or about October 30, 2010, Judge Buchanan, without holding an evidentiary hearing
on the matter or otherwise taking evidence, entered a protective order purporting to prohibit l\/lr.
Loomis and his then-Arizona counsel from contacting “Plaintiff, Plaintiffs’ employees, and
Plaintiffs’ witnesses.” At the time the order was entered, there was no witness list on file, no
specific findings were made as to any one of the hundreds of persons who could possibly be
within the scope of the order, and there was no attempt whatsoever to “narrowly tailor” the order
so that the First Amendment rights of association of Mr. Loomis and the persons subject to

“protection” would not be infringed See Docket Nos. 236 and 248 (Motion To Vacate
Protective Order'and Opposition to Motion for Sanctions, respectively). (The Court’s attention
is respectfully directed to these two filings by Mr. Loomis for a full discussion of why the
Protective Order cannot possibly withstand scrutiny under controlling law).
Plaintiffs’ current allegations of wrongdoing on the part of Mr. -Loomis involve his
responding to a contact from Ms. Sheilah Snyder, a longtime personal friend that, at the time of
the contact, was neither a “plaintiff" nor a “plaintiff’s employee,” albeit she was listed on both

Plaintiffs’ and Defendant’s witness lists several weeks after the fact Plaintiff also contends that

 

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Mr. Loomis contacted Mr. Leberer (also not a “plaintiff” or a “plaintiffs employee” though he is
an individual who appears on both Plaintiffs’ and Defendant’s witness lists). This contact l
consisted of a single text message and a single voicemail about returning some ski equipment to
him (a helmet and gloves). Mr. Leberer, also a former close personal friend of Mr. Loomis, left
the ski equipment at Mr. Loomis’ home when he last stayed there (before the events in question).
This is the entirety of Defendant Loomis’ “witness tampering” and “vio'lations of court orders.”
ln fact, Mr. Herich’s contacts with these individuals stemmed from a desire to steer clear
of further trouble between l\/lr. Loomis and this Court by keeping Mr. Loomis out of the equation
while-Mr. Herich prepared to handle the Bankruptcy Cases. The contacts by Mr. Herich were
clearly related to the Bankruptcy Cas`es and to the real possibility that this case could have been
tried in Arizona. Mr. Herich’s gathering of the declarations in question was not requested in
advance by the undersigned, and Mr. Herich simply believed that he was discharging his duties

as bankruptcy counsel to Mr. Loomis by gathering them for potential use at a future date.

B. The Use Of An Indemnity Agreement Drafted Before Mr. Herich Was Ever
Admitted In This Case Does Not Involve Wrongdoing And Was, In Fact,
Designed To Allow Witnesses T0 Speak Honestly And Freely.

Plaintiffs assert as primary grounds for the continued disqualification of Mr. Herich the
fact that l\/lr. Loomis, through an attorney, l\/lr. Matthew LaVelle, Esq. provided a release and

indemnity agreement to l\/lr. Leberer and Ms. Snyder. Plaintiffs falsely contend the indemnity

' agreement was provided “to indemnify Mr. Leberer if he did not testify for NEl at trial.”

Plaintiffs also contend that somehow l\/lr. Herich attempted to use the indemnity agreement to
cause Mr. Leberer to “disappear” and not testify at trial.
First, Mr. Herich did not prepare or obtain the execution of the release and indemnity

agreement lt was prepared by Mr. LaVelle before Mr. Herich even entered an appearance in

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11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
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case.4 While Mr. Loomis did sign the agreement, he had no direct contact with Mr. Leberer
concerning the agreement or its execution. See Exh. D, Declaration of l\/latthew LaVelle, 1l10
(“LaVelle Dec.”). Second, the sole reason that the indemnity agreement was necessary was that
Plaintiffs had obtained a severance agreement from Mr. Leberer and Ms. Snyder that required
' them to “cooperate ” with Plainti]fs iri this litigation or face a lawsuit for breach ofcorttract.

Plaintiffs have used this severance agreement to pressure Mr. Leberer to sign declarations written
by Plaintiffs’ counsel. As Mr. Leberer said in a subsequent signed declaration:

ln or about October 29, 2009, 1 gave a declaration in this case. My

declaration was prepared by counsel for lntersections, lnc. and Net

Enforcers, lnc. (Plaintiffs).' At the time 1 signed the declaration, l

felt great pressure to do so because it was my impression and

understanding that l needed to cooperate or my severance package

from NEI would be threatened or not provided and 1 had no way of
supporting myself financially.

[Exh. E, Declaration of Matthew Leberer dated Nov. 12, 2010 at
113 (“2d Leberer Dec”)]

Mr. LaVelle provided the Release and Indemnity Agreement to Mr. Leberer. lt was
obtained solely so that Mr. Leberer would not feel any pressure from Mr. Loomis or Plaintiffs’
counsel and could and would therefore provide truthful testimony in this case. See LaVelle Dec.,
1l10. That this was, in fact, its purpose is clear from the language of the one page long Release
and Indemnity Agreement itself, which in bold letters states:

This Release and Indemnity Agreement is provided so that Mr.

Leberer may provide complete, truthful and accurate
testimony in connection With existing or future litigation in

 

As for Mr. LaVelle, the Court will learn that he is one of two partners in an AV-rated law firm in
Phoeiiix, Arizona, that his involvement in this matter is very limited and that he operated in good faith at
all times. lndeed, the only reason he had any contact with Ms. Snyder and Mr. Leberer was precisely
because Mr. Loomis was trying to stay out of harm’s way with respect to any claim that he was in
violation of any orders. A declaration provided by Mr. LaVelle that further details his involvement is
attached hereto as Exh. D. The undersigned has spoken to Mr. LaVelle and can represent that he appears

to be an individual of the highest ethics. Mr. LaVelle and his partner were also vouched for by Mr. Smith
of Lewis & Roca.

 

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FAX 703.273.8897

11325 Randorn Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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Which Mr. Loomis is or may become involved. Nothing in this
agreement shall be construed in any Way to prevent Mr.

Leberer from providing truthful information, to any person, at .
his own discretion.

[LaVelle Dec., 1111 & Exh. A]

lndeed, no lesser an authority than Professor Geoffrey Hazard, who literally wrote the

book on legal ethics, agreed that providing an indemnity agreement to permit reluctant witnesses
to speak with Mr. Loomis’ counsel and to provide truthful testimony did not violate any ethical
rules. Professor Hazard has opinedf

However, it is often the case that third-party witnesses who get

brought into litigation are reluctant and afraid, and it is

correspondingly legitimate to try to calm their fears. Offering to

provide help if they get in trouble can have that effect lt is my

opinion giving that help in the form of an indemnification

agreement is within the reasonable gauge of reasonable means for
that purpose.

[See Exh. B, Hazard opinion letters]

Thus, the acquisition of the Release and Indemnity Agreement, which Mr. Herich did not have

any role in obtaining in any event, cannot be a proper basis for his disqualification

C. The Alleged Wrongdoing On The Part Of Mr. Herich’s Representation Of Mr.
Loomis In Alleged Violation of the September 3, 2010 Disqualification Order
Cannot Form A Proper Basis to Overrule The Objections T0 That Order.

Mr. Loomis is entitled to counsel in Arizona, and the Arizona court has ruled that Mr.
Herich may be one of those counsels. Plaintiffs do not like it, but that is how it is. lt is unfair
and inappropriate to castigate Mr. Herich with contrived allegations of wrongdoing based on his
honest efforts to provide zealous representation to Mr. Loomis within the approved ambit of the
Bankruptcy Cases which include all sub-issues that flow therefrom.

ln this regard, Plaintiffs attack Mr. Herich for allegedly representing Mr. Loomis in this

case in violation of this Court’s September 3, 2010 order which, by its terms, disqualified him

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FA>< 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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from appearing as counsel for Defendant in this action. Plaintiffs assert that the violation
occurred because Mr. Herich met with witnesses (Mr. Leberer and Ms. Snyder) in Arizona and
obtained declarations from them for use in this case in Arizona. Plaintiffs contend that although
the declarations were obtained in Arizona they were clearly intended for use in this case because
' the captions on the declarations reference this action. Plaintiffs incorrectly contend that the fact
that Mr. Herich is litigation counsel for Mr. Loomis in his pending Arizona bankruptcy case is of
no moment because neither the witnesses nor the declarations had any bearing on that
proceeding Plaintiffs also incorrectly contend that the Arizona bankruptcy court has never
addressed the conflict of interest issue, except in relation to Mr. Herich’s disclosures
Plaintiffs’ arguments are without merit and are stretched unreasonably thin. Plaintiffs
obtained the disqualification order in this Court on September 3, 2010. Defendant Loomis
promptly challenged the order by timely filing a motion for reconsideration of the order and by
filing written objections with this Court. On October 29, 2010, this Court heard multiple
motions pertaining to this matter. The Court first took up Plaintiffs motion to enforce a
purported settlement of the case. The Court denied the motion. Because the bankruptcy court
had granted relief from the stay of bankruptcy only to determine the enforceability of the
settlement, this Court ruled all remaining motions were “moot.” While Plaintiffs contend that
the Court’s order left in effect the disqualification of Mr. Herich, a legitimate question is raised
as to how an attorney can be found in violation of an order expressly found to be moot,
particularly when the attorney’s actions are undertaken under color of another court’s order
rejecting the claim that the attorney should be disqualified as to the same subject matter.
Next, Plaintiffs purposefully downplay the significance of the pending Arizona
bankruptcy litigation by arguing that it is entirely separate from this case and by incorrectly

stating in a footnote that “Mr. Herich sought information related to this case and Mr. Leberer had

 

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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no information related to the bankruptcy case.” This allegation is completely absurd As Mr.
Herich states in his declaration, and as is patently obvious from the nature of the approved
bankruptcy employment itself, Mr. Herich’s employment in the bankruptcy case included work
directly related to this case. Herich Dec., 1111 2-3. ln this regard, at the time that the declarations
were obtained from Mr. Leberer, Plaintiffs had filed a $14,000,000 proof of claim in the
bankruptcy case based on the same exact allegations as those that form the basis for this action
here. Herich Dec., 11 12 & Exh. 1. ls that not the same case? Beyond this glaring problem with
Plaintiffs’ assertions, there are clearly related claims and defenses, and potential claims and
defenses, emanating from the penumbra of this case that also are a part of the Bankruptcy Cases.

Moreover, at the time the questioned declarations were obtained, this action was stayed

_ and, while it is true that Plaintiffs had filed a motion for relief from stay, it is also true that Mr.

Loomis had opposed the motion for relief from stay. The bankruptcy court had not yet ruled on
the motion and Mr. Loomis and his counsel had at least a good faith belief that the motion would
be denied Had the then-pending motion for relief from stay been denied, all of Plaintiffs’
claims, including the spoliation motion supported in large part by the first Leberer declaration,
would have been heard in Arizona. Moreover, Mr. Herich filed in the Arizona bankruptcy court
objections to Plaintiffs’ $14,000,000 proof of claim which is/was based on the same claims as

those that are pending before this Court and a counterclaim seeking, inter alia, equitable

, subordination of Plaintiffs’ claim based'on their conduct in obtaining the Leberer declaration

Herich Dec., ‘11 12. These Arizona proceedings required Mr. Herich to meet with and to obtain
declarations from potential witnesses, including Mr. Leberer and Ms. Snyder.

Finally, Plaintiffs’ allegation that the Arizona court did not address the conflict of interest
issue is simply not true. ln moving for reconsideration of Mr. Herich’s employment in the

bankruptcy case, Plaintiffs contended that “the Debtor has failed to disclose the details regarding

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FAX 703.273.8897

11325 Randoni Hills Road, Suite 200, Fairfax, Virgixiia 22030
TEL 703.273.8898

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Mr. Herich’s connections with NEI, including the fact that Mr. Herich’s law firm currently

represents NEl.” At the hearing on the motion for reconsideration, Plaintiffs’ counsel informed

the bankruptcy court of the disqualification order. As recently as January 12, 2011, in arguing
against a motion for summary judgment brought by Mr. Loomis in his action for declaratory
l relief against Plaintiffs as to the continued viability/enforceability of covenants not to compete,
Plaintiffs again raised the disqualification argument See Exh. F, Defendants" Memorandum of
Points and Authorities ln Opposition to Debtor Joseph C. Loomis’ Motion for Summary
Judgment, at note 1. Despite these arguments, Mr. Herich remains litigation counsel for
Defendant Loomis in the Arizona bankruptcy case.

' Based on the evidence presented, the Court can and should conclude that Mr. Herich’s

meeting with witnesses in Arizona and obtaining declarations from them in Arizona is not a
proper basis for sanctions or disqualification ln this regard, Professor Hazard has concurred and

stated:

This responds to your inquiry as to whether the disqualification of
Mr. Herich in the Virginia case also precludes him from acting in
the Arizona bankruptcy case.

ln my opinion it does not. The disqualification was of his right to
appear pro hac vice in the U.S. District Court in Virginia, not a
disqualification in his admission to the bar in his state of residence,
California, or in courts where he has been admitted, such as in
Arizona. There is serious doubt whether a court could properly
disqualify a lawyer in another jurisdiction as well as in matters
before the instant court The general practice is that, if more
extensive disqualification is to be accomplished a further
proceeding would be required, for example, in this casein Arizona.

[Exh. B, Hazard opinion letters]
While the declarations that Mr. Herich obtained contained a caption of the Virginia

action, this is not evidence of improper conduct At the time of the acts, Mr. Herich or his

secretary used a template for a declaration his office had previously used in the Virginia action.

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virgi_nia 22030
TEL 703.273.8898

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The undersigned understands that this was inadvertent and Mr. Herich did not focus on the
caption being used. At the time the declarations were obtained, the Virginia action was stayed
and Mr. Herich could have used a caption for the Arizona case or no caption at all. Mr. Loomis
submits however, that the use of the wrong caption should not be a basis for disqualification
l Furthermore, Mr. Herich has explained that his work as bankruptcy counsel for Mr. Loomis
involves not only asserting claims within the scope of his employment, but also mitigating
potential damages to Mr. Loomis.~ As indicated by Professor Hazard, it cannot be said that
carrying out such duties in a forum where he is admitted violates an order striking his appearance

from this case. What matters is substance; not accidental form.

D. The “Ambush” of Mr. Leberer And/Or Coercion By Subpoena Allegations Do
Not Warrant Disqualification.

Plaintiffs contend that in October or November of 2010 (while this case was stayed
and/or about the time that Plaintiffs had filed a $14,000,000 proof of claim in the bankruptcy
court based on the same allegations they have made in this case), Mr. Herich approached Mr.
Leberer at a public restaurant and identified himself as Mr. Loomis’ counsel. Plaintiffs paint this
meeting as an “ambush” because, according to them, Ms. Snyder, l\/lr. Leberer’s former
girlfriend, had “previously asked Mr. Leberer to meet with one of Mr. Loomis’ attorneys but l\/lr.
Leberer refused” Plaintiffs go on to state that “ultimately, Mr. Herich ‘threatened’ Mr. Leberer
with a subpoena to convince Mr. Leberer to meet with him to discuss the Spoiliation Motion
Declaration which Mr. Leberer had signed and which Plaintiffs had filed in this Court in support
of their motion for sanctions related to Mr. Loomis’ [alleged] intentional destruction of
evidence.” Docket No. 235, p. 6.

When stripped of its colorful language, this charge of “wrongdoing” is reduced to the fact

that Mr. Herich stopped by a restaurant at the request of Ms. Snyder and introduced himself to

 

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FAX 703.273.8897

11325 Random Hi'lls Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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declaration:

 

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Ms. Leberer. 1n this regard, the statement that 1\/1r. Leberer had previously refused to meet with
Mr. Loomis’ counsel is demonstrably false. 1\/1r. Leberer, by his own admission, had met with
Mr. LaVelle months before and had discussed with him the declaration that Mr. Leberer had

given to Plaintiffs. See Exh. G, Declaration of Matthew Leberer dated February 16, 2011, at 112

l (“3d Leberer Dec.”).

l

M.oreover, the meeting was hardly an ambush. As Ms. Snyder explained in her

Subsequently, 1 was contacted by Emil Herich who identified
himself as Joseph’s [Loomis] lawyer. Mr. Herich was interested in
meeting Matthew to discuss getting a declaration from him. Mr.
Herich said that he would be in town and 1 told him that he should
meet Matthew and me, and 1 told him when and where we would
be dining Mr. Herich said he would stop by to say hello. 1
informed Matthew that Mr. Herich was coming into town and that
1 had asked him to come by the restaurant

Mr. Herich did come by the restaurant He introduced himself to
us. ..1\/1r. Herich told Matthew that a prior declaration that Matthew
had given against Joseph Loomis was a problem for Joseph. Mr.
Herich said he thought the declaration was not accurate and he
asked Matthew if he could ca11 him to discuss the declaration
Matthew said yes. 1\/1r. Herich said he did not want Matthew to be
uncomfortable and that all he wanted was for Matthew to be
truthful and set the record straight

[Exh. H, Declaration of Sheilah Snyder, 1117-8 (“Snyder Dec.”)]

The alleged coercion by subpoena argument is similarly flawed The fact of the matter is
that, at times, Mr. Leberer was enthusiastic about helping Mr. Loomis and then he would
suddenly change his mind and become reluctant At some point, during a meeting at Ms.
Snyder’s home, Mr. Leberer questioned Mr. Herich as to his alternatives to giving a declaration
Mr. Herich told Mr. Leberer that, in that case, that “he” or “we” would try to subpoena him to
testify at a deposition Herich Dec. 1118; Snyder Dec. 11 9. ln fact, 1\/11'. Leberer may well be

deposed in the Bankruptcy Cases on a forward-looking basis.

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virgin_ia 22030
TEL 703.273.8898

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Most importantly, neither Plaintiffs nor Mr. Leberer state, suggest or in any way imply
that Mr. Leberer gave a false declaration on account of the threat of a subpoena. Second, the
statement by Mr. Herich was not coercion, it was the truth. Mr. Leberer had given (or Plaintiffs
had obtained) a misleading declaration that was the principal support for Plaintiffs’ motion for

l sanctions based on alleged spoliation. Had Mr. Leberer not provided that declaration, Mr.
Loomis would have certainly requested and been allowed to subpoena Mr. Leberer for a
deposition Moreover, telling a third party witness that they do not need to provide a declaration,
but if they elect not to do so they will be served with a subpoena and deposed, is a common and
accepted practice.

Plaintiffs, however, attempt to make the truthful statement by Mr. Herich into

“misconduct” by contending that, because Mr. Herich was no longer counsel of record in the
Virginia action, “he no longer had the authority to subpoena Mr. Leberer.” This argument adds
nothing to Plaintiffs’ claims for multiple reasons, including: 1) the Virginia action was stayed
and Mr. Herich was counsel of record in the Arizona action with the complete authority to issue

a bankruptcy court subpoena as to Mr. Leberer and 2) in this regard, 1\/1r. Loomis had filed an

adversary proceeding in the Arizona bankruptcy case that included a claim for equitable
subordination based in part on the original declaration of Mr. Leberer, making a subpoena to

depose him in that case appropriate Moreover, even if Mr. Herich could not have issued a

subpoena (which he clearly could in his capacity as bankruptcy counsel for Mr. Loomis), Mr.

Loomis could have sought leave to do so through the undersigned 1n sum, the truthful statement

that 1\/1r. Loomis would attempt to subpoena Mr. Leberer for a deposition if he did not want to

provide a truthful declaration cannot be the proper basis for a disqualification of Mr. Herich.

 

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FA>< 703.273.8897

11325 Raridom Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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ln contrast, the Court should consider the coercion placed on Mr. Leberer by Plaintiffs
As Ms. Snyder has stated in recounting a conversation with 1\/11'. Leberer where he explained to
her his sudden motivation to provide still another declaration for Plaintiffs’ counsel:

Within the past two weeks, 1 saw Matthew Leberer. He told me
that he had been afraid to make any changes to the Declarations
provided to him by lntersections, lnc. and Net Enfoi'cers, lnc.
because he was afraid of making them upset if (a) he did not
simply sign whatever they provided him or (b) contradicted
anything he had previously stated for them. Specifically, he felt
required to do what they wanted him to do because of his
Termination Agreement Likewise, he said he had been careful to
make changes in the Declarations that were presented to him by

Mr. Herich so that they would not hurt lntersections, 1nc. or Net
Enforcers, lnc. '

[Snyder Dec., 11 12]

E. The Alleged Instruction To Mr. Leberer T0 Not Speak T0 Plaintiffs’ Counsel
Does Not Support a Disqualification.

ln his most recent declaration that he provided to Plaintiffs’ counsel, Mr. Leberer states:
At Mr. Herich’s suggestion, 1 met with him and Ms. Snyder at her
apartment on November 12, 2010. We met for approximately five
to six hours. We discussed the Virginia litigation, and Mr. Herich

told me that 1 did not have to talk to counsel for lntersections or

NEI because Joe and 1 had entered into an lndemnity Agreement in
July 2010.

[3.d Leberer Dec., 11 9]

Although Mr. Leberer also states in his declaration that he signed a declaration at the
request of Mr. Herich because Mr. Herich indicated there were ambiguities in his prior
declaration and he could be accused of lying if he testified at trial (3d Leberer Dec., 11 12),

Plaintiffs contend that the foregoing testimony establishes that Mr. Herich was attempting to

cause l\/lr. Leberer to “disappear” and not testify at trial.

 

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FAX 703.273.8897

11325 Raridom Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

Cameron l McEvQy

 

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ln fact, 1\/11‘. Leberer is again being misleading in his declaration and Mr. Herich was not
doing anything remotely dishonest or unethical. As both l\/lr. Herich and Ms. Snyder explain in
their declarations, the conversation in question arose after Mr. Leberer had signed a declaration
and provided it to l\/lr. Herich. Mr. Leberer and l\/ls. Snyder were discussing the declaration and
l Mr. Leberer stated that he was very concerned that Plaintiffs’ counsel? Ms. Dickinson, would be
upset about it and would certainly call him. Mr. Leberer told Mr. Herich he did not want to
speak further with Ms. Dickenson at a11. He asked Mr. Herich if he was required to do so. Mr.
Herich told him that he was not required to speak to Plaintiffs’ counsel if he did not want to do
so. ll\/lr. Leberer then asked whether NEl could sue him for providing the declaration Mr.
Herich stated that if it happened, Mr. Loomis had agreed to indemnify him. Herich Dec., 1118;

Snyder Dec., 1110 Mr. Herich never said anything to Mr. Leberer about not testifying at trial.

Snyder Dec., 1110.
IV. CONCLUSION

For all of the foregoing reasons, Mr. Loomis’ objections to the order disqualifying
Attorney Herich should be sustained ln the alternative, and if the Court believes that
disqualification of Mr. Herich is appropriate, the undersigned would request future guidance as
to what this Court would consider improper practice by 1\/1r. Herich given the reality that another
federal court has rejected attempts to disqualify him from the subject matter of this very case. ln

all cases, 1\/11'. Loomis seeks such other and further relief as justice may require.

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virg'mia 22030
TEL 703.273.8898

Cameron l McEvQy

 

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Respectfully submitted,

/s/ .

Timothy J. McEvoy, VSB No. 33277
CAMERON MCEon, PLLC

11325 Random Hills Road, Suite 200
Fairfax, Virginia 22030

(703) 273-8898 l

(703) 273-8897 (Facsimile)
tnicevov@cameronmcevov.com

Counsel for Defendant, Joseph C. Loomis

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CERTIFICATE OF SERVICE

1 hereby certify that on this 3rd day of March, 2011, l,have filed a true and correct copy of
the foregoing with the Clerk of Court via the Cl\/l/ECF efiling system which will send notification of

FA)< 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

Cameron l McEvpy

Tara Lee, Esquire
Ryan C. Berry, Esquire

' DLA Piper LLP
1775 Wiehle Avenue, Suite 400
Reston, V_irginia 20190
Counsel for Plaintiffs

David Clarke, Esquire
Michelle .l. Dickinson, Esquire
Melissa R. Roth, Esquire
DLA Piper LLP

6225 Smith Avenue
Baltimore, Maryland 21209
Counsel for Plaintiffs

And Via Overnight to:

Ms. lenni Loomis

212 Esquire Lane

Cary, North Carolina 27513
(919)280-8251

Defendant Pro Se

 

this filing to the following counsel of record:

/s/

Timothy 1. l\/lcEvoy, VSB No. 33277
CAMERON MCEon, PLLC

11325 Random Hills Road, Suite 200
Fairfax, Virginia 22030

(703) 273-8898

(703) 273-8897 (Facsimile)
tmcevov@cameronmcevo`v.com

Counsel for Defendant, Joseph C. Loomis

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